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                   EXHIBIT 2
                                                                             E-FILED; Harford Circuit Court
             Case 1:20-cv-02892-RDB Document 1-3 Filed
                                          Docket:       10/07/20
                                                  8/26/2020        Page
                                                            11:13 AM;    2 of 3 8/26/2020 11:13 AM
                                                                      Submission:




BEL AIR AUTO AUCTION, INC.                      *           IN THE
4805 Philadelphia Road
Belcamp, MD 21017                               *           CIRCUIT COURT

                   Plaintiff,                   *           FOR

v.                                              *           HARFORD COUNTY

CHUBB LIMITED                                   *
c/o Chubb Group of Insurance                                           C-12-CV-20-000596
Companies                                       *           Case No.: ________________
202B Hall’s Mill Road
Whitehouse Station, NJ 08889                    *

SERVE ON:                                       *
Maryland Insurance Administration
200 St. Paul Place, Suite 2700                  *
Baltimore, MD 21202
                                                *
And
                                                *
GREAT NORTHERN INSURANCE
COMPANY                                         *
100 S. 5th Street Ste. 1800
Minneapolis, Minnesota                          *
55402-1255
                                                *
SERVE ON:
Maryland Insurance Administration               *
200 St. Paul Place, Suite 2700
Baltimore, MD 21202                             *

                   Defendants.                  *

     *   *     *    *    *      *   *   *   *   *   *   *   *   *    *   *   *   *   *    *

                                    DEMAND FOR JURY TRIAL

         Plaintiff, Bel Air Auto Auction, Inc., demands a jury trial against all

Defendants in the above-captioned matter.
       Case 1:20-cv-02892-RDB Document 1-3 Filed 10/07/20 Page 3 of 3



Date: August 26, 2020              /s/ Lawrence J. Gebhardt
                                   Lawrence J. Gebhardt
                                   CPF No. 7212010082
                                   Gregory L. Arbogast
                                   CPF No. 1012140026
                                   George B. Cunningham
                                   CPF No. 1712130121
                                   Gebhardt & Smith LLP
                                   One South Street, Suite 2200
                                   Baltimore, Maryland 21202
                                   (410) 385-5100

                                   Attorneys for Plaintiff,
                                   Bel Air Auto Auction, Inc.




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